Case 2:19-cv-14336-KMM Document 8 Entered on FLSD Docket 11/04/2019 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-14336-CIV-MOORE/MAYNARD

 DAVID POSCHMANN,

               Plaintiff,
 v.

 235 WASHINGTON HOLDINGS, LLC

             Defendant.
 __________________________________/

                                 NOTICE OF SETTLEMENT

        Plaintiff, by and through his undersigned counsel, hereby informs the Court that this

 matter has been resolved.

        Dated: November 4, 2019

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